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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         OCALA DIVISION

    CHERYL WEIMAR

            Plaintiffs,

    v.                                                            Case No.: 5:19-cv-00548-CEM-PRL

    THE FLORIDA DEPARTMENT OF
    CORRECTIONS, KEITH TURNER,
    and RYAN DIONNE

          Defendants.
    ____________________________/

                  DEFENDANT FLORIDA DEPARTMENT OF CORRECTIONS’
                             OPPOSED MOTION TO STAY

            The Defendant the State of Florida Department of Corrections, (“Department”) moves

    to stay the proceedings in this matter until such a time as the Florida Department of Law

    Enforcement (“FDLE”) completes its investigation into the incident underlying the Plaintiff’s

    second amended complaint and releases its findings. The fact that the FDLE investigation is

    ongoing has made discovery unnecessarily difficult and burdensome. As a foreseeable

    consequence, the parties have already asked for a two-month extension to the discovery

    deadline.1 On June 15, 2020, the Plaintiff propounded her seventeenth and eighteenth sets of

    requests for production of documents. The next day, on June 16, 2020, the Plaintiff propounded

    her nineteenth set of requests for production of documents. To date, the Department has also

    received eight different sets of interrogatories and nine different sets of requests for admissions




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     The current discovery deadline is August 3, 2020. On June 15, 2020, the Plaintiff’s counsel filed a motion for
    another extension of thirty days to the discovery deadline, asking that the new deadline be September 2, 2020.
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    from the Plaintiff, and has produced more than 20,000 pages of documents.

           In light of the active investigation by the FDLE, the Department has been unable to

    conduct its own investigation into the incident and has therefore been unable to interview

    potential inmate witnesses. Additionally, the unavailability of FDLE’s investigative report has

    hindered the securing of experts, many of whom need and/or are accustomed to having such a

    report to review in making their findings.

           The most substantial impact of the ongoing investigation, which has severely unfairly

    prejudiced the Department in its defense of this matter, has been the denial of the taking of the

    testimony of the individual defendants. In light of the ongoing FDLE criminal investigation,

    both individual defendants have asserted their rights and privileges under the Fifth Amendment

    and declined to answer questions. This has deprived the Department of the most probative

    evidence at issue in this case: the accounts of the officers involved in the incident.

           The FDLE is an independent investigatory agency and has been actively investigating

    the use of force incident at the center of the Plaintiff’s second amended complaint. Regardless

    of the eventual findings within the FDLE’s investigative report, the completion of the

    investigation and the availability of its report has a strong likelihood of aiding in resolution of

    the case by encouraging settlement between the parties. The Court should grant this Motion

    for the above-noted reasons, which are more fully set forth in the memorandum which follows.

                                  MEMORANDUM IN SUPPORT

           I.      Introduction and Background

           The Plaintiff brings three claims for relief: one claim against individual Defendants

    Keith Turner and Ryan Dionne under 42 U.S.C. § 1983 for an alleged violation of the




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    Plaintiff’s rights under the Eighth Amendment; one claim against the Department under Title

    II of the Americans with Disabilities Act (“ADA”); and one claim against the Department

    under Section 504 of the Rehabilitation Act (“RA”). The allegations which underlie these

    claims for relief arise from a single incident that is alleged to have occurred on August 21,

    2019, at Lowell Correctional Institution. (Doc. 35 ¶ 18). The Plaintiff alleges that she was

    physically, mentally, and intellectually disabled and that, because of these disabilities, she was

    beaten by correctional officers, specifically individual Defendants Turner and Dionne. This

    incident is under active investigation by the FDLE.

             On August 21, 2019, the Plaintiff was housed in the Work Camp at Lowell Correctional

    Institution in Ocala, Florida. On that date, there was an interaction between her, Dionne, and

    Turner. The Plaintiff was a “dorm worker” or “houseman” in her dorm at the Lowell Work

    Camp and alleges she was assigned to clean toilets. (Doc. 35 ¶ 18). The Plaintiff refused to

    complete the work assignment and the events which followed are disputed. The officers

    attempted to counsel the Plaintiff about her refusal to work. This counseling was captured on

    the institution’s fixed-wing video, which does not have sound. When this counseling proved

    unsuccessful, the officers attempted to escort the Plaintiff to the medical office for a pre-

    confinement physical. (Id.).2 When the officers attempted to escort the Plaintiff to the medical

    office, the Plaintiff can be seen on video immediately dropping her body weight and refusing

    to comply with the officers’ instructions. The officers were then forced to lift the Plaintiff and

    carry her out of the dormitory door and towards the medical office.


    2
      According to Rule 33-601.314, F.A.C., an inmate’s refusal to work or participate in mandatory programs can
    result in discipline of up to sixty days of disciplinary confinement and the loss of ninety days of gain time. Inmates
    do not have the option to refuse work assignments.




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             Without the testimony of the individual Defendants, the only Department records

    regarding what followed are the officers’ incident reports. During the escort to the medical

    office, and while outside the view of the cameras, the incident reports reflect that the Plaintiff

    became combative, and began kicking the officers and thrashing. (Id.). When the Plaintiff’s

    thrashing and kicking caused Dionne to lose his grip on the Plaintiff, Turner redirected the

    Plaintiff to the ground in a facedown prone position so that the officers could regain control of

    the Plaintiff, after which the officers continued their escort to the medical office. (Id.). The

    Plaintiff has alleged, instead, that she was compliant when the officers threw her to the ground

    and kneed her in the back of the neck, and that this caused her to suffer a broken neck. (Doc.

    35, ¶ 32).

             II.      Standard

             “[A] court must stay a civil proceeding pending resolution of a related criminal

    prosecution . . . when ‘special circumstances so require in the ‘interest of justice.’ ”

    Transamerica Life Ins. Co. v. Brickman, Case No. 6:15-cv-1919-Orl-41TBS, 2017 WL

    10023751, at *2 (M.D. Fla. Oct. 17, 2017) (ellipsis in original) (Mendoza, J.) (citing U.S. v.

    Lot 5, Fox Grove, Alachua Cty, 23 F.3d 359, 364 (11th Cir. 1994)). Although “[t]he very fact

    of a parallel criminal proceeding does not alone constitute ‘special circumstances,’ . . . district

    courts are vested with substantial discretion to stay civil proceedings in the face of a parallel

    criminal action where the interests of justice favor doing so.”3 Id.



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      Much caselaw pertaining to stays of civil proceedings during parallel criminal investigations analyzes whether
    a defendant faces “certain loss” due to the invocation of his Fifth Amendment privilege versus the “mere
    possibility of disadvantage.” “However, strict invocation of the Fifth Amendment privilege is not a necessary
    condition for granting a stay; the Court must grant a stay if such loss is present but may grant one even when the
    loss is not actively present.” Young v. Miami-Dade Cty, 217 F. Supp. 3d 1353, 1355 (S.D. Fla. 2016).




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           In the absence of special circumstances mandating a stay, district courts nevertheless

    maintain broad discretion in deciding whether to stay proceedings. This broad discretion is

    consistent with a court’s inherent power to control its docket and to ensure the fair adjudication

    of cases. Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (“[T]he power to stay proceedings is

    incidental to the power inherent in every court to control the disposition of the causes on its

    docket.”). “In assessing whether a stay is appropriate, the Court must weigh competing

    interests and maintain an even balance.” Young v. Miami-Dade Cty, 217 F. Supp. 3d 1353,

    1355 (S.D. Fla. 2016) (internal quotations omitted). “[T]he suppliant for a stay must make out

    a clear case of hardship or inequity in being required to go forward, if there is even a fair

    possibility that the stay for which he prays will work damage to some one else.” Brickman,

    2017 WL 10023751, at *2 (quoting Landis, 299 U.S. at 255).

           III.    Argument

                   a. Turner and Dionne’s Invocation of Their Fifth Amendment Privilege

           A stay is warranted in this case because the underlying incident and the individual

    Defendants are the subjects of an active and ongoing criminal investigation by the FDLE,

    which has made the most crucial evidence for the Department unavailable. Both Turner and

    Dionne have asserted their Fifth Amendment privilege in response to interrogatories and

    virtually all questions during depositions. (See, e.g., Docs. 80-20; 80-21; 80-22; 80-23).

    Particularly in light of the Department’s unique status as an entity and a governmental

    defendant, it would be unjust to require the Department to proceed with litigation. The

    Department is not an individual with its own independent account of what occurred, but is

    forced to rely on the accounts of others. Without the accounts of Turner and Dionne, the




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    Department’s defense will be substantially, irreparably, and unfairly prejudiced. This matter

    should therefore be stayed pending the completion of the FDLE’s investigation.

           The Plaintiff has brought claims against the Department for violating her rights under

    the ADA and the RA, which prohibit public entities from discriminating against disabled

    individuals. To state a claim for discrimination, a plaintiff must generally show:

           (1) That she is a qualified individual with a disability; (2) that she was either
           excluded from participation in or denied the benefits of a public entity’s
           services, programs, or activities, or was otherwise discriminated against by the
           public entity; and (3) that the exclusion, denial of a benefit, or discrimination
           was by reason of the plaintiff’s disability.

    Owens v. Sec’y, Fla. Dep’t of Corr., 602 Fed. App’x. 475, 477 (11th Cir. 2015). The Plaintiff

    specifically alleges that she was subjected to a use of force by Turner and Dionne “because of

    her disabilities.” (Doc. 35, ¶ 60). The Plaintiff also alleges that her declaration of an “inmate

    medical emergency,” because of an alleged pre-existing hip condition, and her declaration of

    an “inmate psychological emergency,” were requests for a “reasonable accommodation,” (Doc.

    35, ¶ 64), and that the use of force by Turner and Dionne was retaliation because of those

    requests.

           There is no dispute that force was used against the Plaintiff. The key element of the

    Plaintiff’s claims against the Department is why such force was used. The Plaintiff has brought

    claims against the Department based on the ADA and the RA, and she alleges the force was

    used “because of her disabilities.” (Doc. 35, ¶ 60). The claims pertain only to the actions of

    Turner and Dionne, and the Plaintiff’s counsel himself has argued “all three Defendants live

    or die by the acts of Turner and Dionne.” (Doc. 88, p. 14). If reactionary force was properly

    used against the Plaintiff because she was kicking at correctional officers and thrashing while




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    she was being escorted to the medical office, (Doc. 78-7, pp. 1-7 (Aug. 21, 2019 Incident

    Reports)), the Plaintiff’s claims of disability discrimination and retaliation fail.4 In fact, even

    if force was improperly used against the Plaintiff by Turner and Dionne, the Plaintiff’s claims

    against the Department would still fail if the force was used for reasons other than her

    disability.

            The reasons Turner and Dionne used force against the Plaintiff are an indispensable

    element of the Department’s defenses to the Plaintiff’s ADA and RA claims. Ultimately, the

    only two individuals who can explain why Turner and Dionne used force against the Plaintiff

    are Turner and Dionne themselves. The Department’s unique status as an entity and a

    governmental defendant deprives it of its own first-hand account of the incident. The testimony

    of Turner and Dionne will therefore be crucial to the Department’s defense, and the

    Department is nearly completely unable to defend itself from the Plaintiff’s allegations without

    such testimony. The Department lacks the ability to have its own eyewitness account

    independent of the officers involved in the incident.

            In the Southern District of Florida, this exact situation arose in the context of a county

    correctional facility. See Young v. Miami-Dade Cty, 217 F. Supp. 3d 1354 (S.D. Fla. 2016). In

    Young, an inmate brought a lawsuit after an alleged beating by county correctional officers. Id.

    The inmate filed suit against the Miami-Dade Corrections and Rehabilitations Department

    while the state attorney was investigating the incident to determine whether criminal charges

    needed to be brought against the officers involved. Id. The parties anticipated that the


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      The Department’s policies and regulations specifically authorize a correctional officer to use force in such
    instances to “[d]efend himself, herself, or others against imminent or already occurring unlawful force,” and to
    “[o]vercome an inmate’s physical resistance to a lawful command.” See Rule 33-602.210, Florida Administrative
    Code.




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    individual defendants would assert their rights under the Fifth Amendment and decline to

    answer questions. Id.

           Judge Altonaga granted a temporary stay in light of the county’s inability to mount a

    proper defense without the evidence that the investigation would provide, finding that, without

    such a stay, the county would be nearly completely unable to defend itself against the inmate’s

    allegations. Id. at 1354-55. This included the “most probative evidence at issue in the case—

    the eyewitness accounts of the officers and witnesses involved in the disputed incident.” Id.

    “That the County might possess a ‘wealth’ of other evidence does not remove the prejudice to

    the County if the stay is denied when the most crucial evidence remains inaccessible.” Id.

    (citations omitted).

           Mindful of the inmate’s suggestion that “the unknown status of the criminal

    investigation might effectively lead to an indefinite stay,” Judge Altonaga determined that the

    “more prudent course is to permit a temporary stay and to require periodic updates on the status

    of the State Attorney’s investigation.” Id. at 1356. “Both parties, not to mention the Court,

    stand to benefit from a fuller and more comprehensive case file.” Id.

           Although courts have used their discretion to deny requests for stays that come after

    the completion of discovery or when it has been ongoing for several months, Judge Altonaga

    noted that the inmate in Young would not be prejudiced by the timing of the county’s motion.

    Id. at 1355-56. Judge Altonaga also noted that, even though the inmate cited his poor health in

    opposing a stay, the inmate “d[id] not indicate how his fragile condition might be more

    burdened by a stay than by the certain delays resulting from attempts to obtain information

    from the State Attorney.” Id. In the case at hand, the Plaintiff’s condition was initially unknown




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    and, in fact, the Plaintiff filed three emergency motions between September and December

    2019 related to her injuries. Notably, on December 3, 2019, the Plaintiff filed an emergency

    motion and alleged that her “life [was] in jeopardy,” (Doc. 50, p. 13) and that her “dire

    condition and injuries require a significant degree of medical care,” (Id. at p. 2).

           Much discovery has been had and the time up to this point has been efficiently used.

    However, it has now become apparent that the parties cannot effectively proceed without the

    FDLE investigation. (See, e.g., Doc. 159, Plt’s Mot. to Compel). With the discovery deadline

    still months away, and with the Plaintiff’s life care expert forecasting her care plan for the next

    32.5 years, the Plaintiff’s initially “fragile” medical condition should no longer be an

    impediment to granting a stay in this case.

           In a seminal case on the subject of stays of civil proceedings pending resolution of

    criminal investigations or proceedings, Wehling v. City Broadcasting Sys., 608 F.2d 1084 (5th

    Cir. 1979), the circuit court found that denying a party’s motion for a protective order that “in

    effect was asking the court to stay further discovery for approximately three years,” was an

    abuse of discretion. Id. at 1089. The circuit court in Wehling found that the district court should

    have “measured the relative weights of the parties’ competing interests with a view toward

    accommodating those interests, if possible. This balancing-of-interests approach ensures that

    the rights of both parties are taken into consideration before the court decides whose rights

    predominate.” Id. at 1088.

           Because the stay “would not impose undue hardship on defendant and, therefore, would

    protect the party exercising a constitutional privilege from unnecessary adverse consequences,

    we believe the court abused its discretion in denying Wehling’s Motion for a Protective Order




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     and dismissing the lawsuit.” Id. at 1089. (emphasis in original). In Wehling, Young, and the

     case at hand, the balance of interests weighs in favor of granting a stay until the FDLE

     completes its investigation into the incident underlying the Plaintiff’s second amended

     complaint.

                    b. The FDLE Investigation

            The ongoing investigation has made discovery in this case unnecessarily difficult. The

     Department has produced over 20,000 pages of documentation in response to the Plaintiff’s

     first twelve sets of requests for production of documents. The Plaintiff has also served seven

     separate sets of requests for production of documents since May 27, 2020. On June 15, 2020,

     the Plaintiff served her seventeenth and eighteenth sets of requests for production of

     documents—two business days after serving her sixteenth set of requests for production, which

     itself came one day after her fifteenth set of requests for production. On June 16, 2020, the

     Plaintiff propounded her nineteenth set of requests for production of documents. The sheer

     number of discovery requests in this case is evidence that the parties would benefit from the

     availability of a report into the FDLE’s independent investigation of the incident underlying

     the complaint. As part of its investigation the FDLE has, or will, interview potential witnesses

     to the incident, which may obviate the need for a portion of the twenty-two depositions

     currently planned by the Plaintiff.

            On a separate but related note, when engaging experts in this matter to opine regarding

     the use of force, a number of the experts requested and were accustomed to being provided

     with the reports of independent agencies who had already investigated the use of force. Without

     such a report at this time, the use of force experts have instead relied on questionable inmate




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     affidavits prepared with the assistance of, and in some instances actually drafted by, the

     Plaintiff’s counsel or investigator. Based on the incompleteness of this record without FDLE’s

     investigative report, the reports from all of the use of force experts have reserved the right to

     supplement or amend their reports, should additional documents or evidence be provided.

            A stay until the resolution of the FDLE’s investigation would also be beneficial for two

     very practical reasons. First, a stay would not prejudice the parties because it would allow the

     parties to weather any additional hardship that may be caused by COVID-19. The Plaintiff’s

     counsel has already indicated his reluctance to conduct depositions of inmates in person in an

     institutional setting. Although one deposition of an inmate has been taken via Zoom, the

     facility may not always have a sufficiently large room with internet that could be used to

     facilitate Zoom depositions and still maintain social distancing requirements for the attorneys

     or individuals that do attend the depositions in person. As part of the precautions taken to limit

     the spread of COVID-19, correctional facilities are limiting inmate movements between

     different parts of the facilities. If there is no adequate room in, for instance, a Work Camp, the

     deposition may not be able to go forward.

            Secondly, the availability of the report is likely to encourage settlement in this matter.

     The report from an independent investigative agency into the allegations underlying the

     Plaintiff’s claims against the Department would allow all parties an impartial view of what

     actually occurred on August 21, 2019.

                                             CONCLUSION

            For the above noted reasons, the Department respectfully requests that the Court grant

     the Department’s Motion to stay further proceedings in this matter pending resolution of the




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     active criminal investigation by the FDLE into the events underlying the Plaintiff’s second

     amended complaint.

                     3.01(g) CERTIFICATE OF GOOD FAITH CONFERRAL

            Pursuant to the requirements of Local Rule 3.01(g), the undersigned certifies that he

     has conferred with opposing counsel in good faith regarding the substance of this motion and

     the requested relief is opposed.

                                                 Respectfully submitted,

                                                 /s/Juan C. Martinez
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                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

     this 16th day of June, 2020, by CM/ECF electronic filing to the Clerk of Court and to the

     following:

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